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 6   Sergio Roldan and Adriana M. Buenaventura, Chapter 7 Case No. 17-50794 MEH
 7

 8                              UNITED STATES BANKRUPTCY COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                          SAN JOSE DIVISION

11   In re                                                Case No. 19-50981 SLJ
                                                          Chapter 13
12                                                        Hon. Stephen L. Johnson
             LORETTA BIRMINGHAM,
13
                                                          REQUEST FOR SPECIAL NOTICE
                     Debtor.
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16            The undersigned, counsel in this case for Kari Bowyer, Chapter 7 Trustee of the estate of

17   Sergio Roldan and Adriana M. Buenaventura, Chapter 7 Case No. 17-50794 MEH, hereby requests

18   (1) notice of all matters which must be noticed to creditors and any other parties-in-interest, whether

19   sent by Court, the Debtor, the United States Trustee or any other parties-in-interest, and (2) copies

20   of all pleadings filed herein. The undersigned further request that such notices and copies be sent

21   to the parties identified below and that the following parties be added to the Court’s Master Mailing

22   List:

23                                       Gregg S. Kleiner, Esq.
                                          RINCON LAW LLP
24                                     268 Bush Street, Suite 3335
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 1   DATED: May 22, 2019            RINCON LAW LLP

 2

 3                                  By: /s/ Gregg S. Kleiner
 4                                      Counsel for KARI BOWYER, Chapter 7 Trustee of the
                                        estate of Sergio Roldan and Adriana M. Buenaventura,
 5                                      Chapter 7 Case No. 17-50794 MEH

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